     Case 3:17-cv-02188-D Document 1 Filed 08/17/17               Page 1 of 12 PageID 1


                        IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

BARBARA BRASWELL,                              §
    Plaintiff,                                 §
                                               §
v.                                             §        Civil Action No.: __________________
                                               §
GEICO ADVANTAGE INSURANCE                      §
COMPANY and HARRELL CHILDS,                    §
     Defendants.                               §


               NOTICE OF REMOVAL AND DEMAND FOR JURY TRIAL


TO THE HONORABLE UNITED STATES DISTRICT COURT:

       Defendants GEICO Advantage Insurance Company (“GEICO”) and Harrell Childs

(“Childs”) (collectively, “Defendants”) hereby file this Notice of Removal and Demand for Jury

Trial of Cause Number DC-17-07970, styled Barbara Braswell v. GEICO Advantage Insurance

Company and Harrell Childs, currently pending in the 14th District Court, Dallas County, Texas.

GEICO removes the case to the U.S. District Court for the Northern District of Texas, Dallas

Division pursuant to 28 U.S.C. §§1332, 1441 and 1446. As grounds for removal, GEICO states

as follows:

                                              I.
                                         BACKGROUND

       1.      This case involves a dispute over uninsured motorist insurance benefits under a

policy of insurance issued by GEICO to Plaintiff Barbara Braswell, for alleged injuries sustained

in a motor vehicle accident on September 21, 2016. See Plaintiff’s Petition attached hereto as

Exhibit 1-A.




NOTICE OF REMOVAL AND DEMAND FOR JURY TRIAL                                                PAGE 1
        Case 3:17-cv-02188-D Document 1 Filed 08/17/17                 Page 2 of 12 PageID 2



           2.       On April 5, 2017, 1 Plaintiff’s counsel sent a demand to GEICO Advantage

Insurance Company on behalf of Plaintiff Braswell. See Exhibit B.

           3.       On May 1, 2017, Childs left a voicemail with Plaintiff’s counsel Brandon Lavery

offering $16,073.60 in response to Plaintiff’s counsel’s demand. See Exhibit A.

           4.       On May 30, 2017, Childs left a voicemail for Plaintiff’s counsel requesting a

response to the offer. See Exhibit A.

           5.       On June 5, 2017, counsel Brandon Lavery faxed a letter to GEICO adjuster Childs

requesting a breakdown of the offer claiming Childs “failed to attempt in good faith to effect a

prompt, fair and equitable settlement after liability has become reasonably clear.” See Exhibit C.

           6.       On June 7, 2017, Childs responded to Lavery’s letter with a breakdown and the

reasoning he used to arrive at his offer. See Exhibit D.

           7.       On June 15, 2017, Childs left a voicemail for Plaintiff’s counsel requesting a

response to the offer. See Exhibit A.

           8.       On June 28, 2017 2, Lavery faxed a letter to Childs stating the offer was rejected

and suit would be filed shortly. See Exhibit E.

           9.       On July 5, 2017, suit was filed.


                                                       II.
                                                    OVERVIEW

           10.      Plaintiff commenced this action, styled Barbara Braswell v. GEICO Advantage

Insurance Company and Harrell Childs, currently pending in the 14th District Court, Dallas

County, Texas, against GEICO by filing her Original Petition on July 5, 2017 under Cause

Number DC-17-07970 (“State Court Action”). In Plaintiff’s Original Petition, she seeks to

1
    Letter is dated April 5, 2017 but was received April 14, 2017.
2
    Letter is dated June 28, 2017 but was received June 29, 2017.


NOTICE OF REMOVAL AND DEMAND FOR JURY TRIAL                                                     PAGE 2
     Case 3:17-cv-02188-D Document 1 Filed 08/17/17                   Page 3 of 12 PageID 3



recover damages from the Defendants in excess of $100,000.00 but not over $200,000.00. See

Exhibit 1-A at II.

       11.     Removal is based on diversity jurisdiction because the amount in controversy

exceeds $75,000, exclusive of interest and costs, and there is complete diversity between

Plaintiff and Defendant GEICO. Additionally, Childs has been improperly joined for the purpose

of defeating diversity.

       12.     Defendant GEICO was served on July 18, 2017 in Richardson, Texas, therefore,

removal is timely under 28 U.S.C. § 1446(b). See Return of Service for Defendant GEICO

attached hereto as Exhibit 1-D.

       13.     Defendant Childs was served on July 18, 2017 in Richardson, Texas. See Return

of Service for Childs attached hereto as Exhibit 1-E.

       14.     Plaintiff has served all Defendants. See Exhibits 1-D and 1-E; See also Register of

Actions for the State Court Action, hereto attached as Exhibit 1-J.

       15.     A true and correct copy of all process, pleadings, and the orders served upon

GEICO in the State Court Action are being filed with this Notice as required by 28 U.S.C. §

1446(a), and are attached hereto as Exhibit 1.

       16.     Defendants now file this Notice of Removal based on the grounds asserted herein,

and promptly upon the filing of same, is also filing a Notice of Filing Notice of Removal with

the state court in which this case was previously pending.




NOTICE OF REMOVAL AND DEMAND FOR JURY TRIAL                                                 PAGE 3
     Case 3:17-cv-02188-D Document 1 Filed 08/17/17                  Page 4 of 12 PageID 4


                                           III.
                                  GROUNDS FOR REMOVAL

          17.   This Court has original jurisdiction over this civil action pursuant to 28 U.S.C. §

1332(a) because the parties involved are citizens of different states, and the matter in controversy

exceeds $75,000.00, exclusive of interest and costs.

A.        COMPLETE DIVERSITY EXISTS BETWEEN THE PARTIES

          18.   Plaintiff alleges she is a resident of Ellis County, Texas. See Exhibit 1-A at III.

          19.   Plaintiff does not make any allegations as to the citizenship of GEICO. Id.

          20.   Plaintiff does not make any allegations as to the principal place of business of

GEICO. Id.

          21.   Defendant GEICO Advantage Insurance Company is incorporated in Nebraska

and its principal place of business is in Nebraska.

          22.   Accordingly, GEICO is a citizen of the State of Nebraska and complete diversity

exists.

          23.   Plaintiff named Childs as a Defendant with a residence located in Dallas County,

Texas. See Exhibit 1-A at III.

          24.   Defendant Childs is a citizen of the State of Texas. His citizenship, however,

should not be taken into consideration for purposes of determining diversity as he has been

improperly joined in this action in that the Plaintiff has not asserted any valid claim against him

and joined him in this lawsuit solely in an effort to defeat diversity jurisdiction as part of a

routine pattern and practice. See Section C. below.

          25.   A defendant may be disregarded as a party for purposes of establishing diversity

if the court determines that the joinder is an improper device to defeat diversity jurisdiction and

prevent removal. Madison v. Vintage Pet., Inc., 114 F.3d 514 (5th Cir. 1997); Smallwood v.


NOTICE OF REMOVAL AND DEMAND FOR JURY TRIAL                                                     PAGE 4
     Case 3:17-cv-02188-D Document 1 Filed 08/17/17                 Page 5 of 12 PageID 5


Illinois Cent. R.R. Co., 385 F.3d 568, 571 (5th Cir. 2004); In re Benjamin Moore & Co., 318

F.3d 626 (5th Cir. 2002); Tapscott v. MS Dealer Serv. Corp., 77 F.3d 1353 (11th Cir. 1996),

abrogated on other grounds by Cohen v. Office Depot, Inc., 204 F.3d 1069 (11th Cir. 2000);

Wilson v. Republic Iron & Steel Co., 257 U.S. 92 (1921) (stating “[R]ight of removal cannot be

defeated by a fraudulent joinder of a resident defendant having no real connection with the

controversy”).

B.     PLEADING STANDARD

       26.       To determine whether a party was fraudulently or improperly joined to prevent

removal, “the court must analyze whether (1) there is actual fraud in pleading jurisdictional facts

or (2) the plaintiff is unable to establish a cause of action against the nondiverse defendant.”

Campbell v. Stone Ins., Inc., 509 F.3d 665, 669 (5th Cir. 2007). In this case the Plaintiff is unable

to establish a cause of action against Defendant Childs, thereby rendering his joinder improper.

Therefore, the court may either: (1) conduct a Rule 12(b)(6)-type analysis or (2) in rare cases,

make a summary inquiry “to identify the presence of discrete and undisputed facts that would

preclude plaintiff’s recovery against the in-state defendant.” Smallwood v. Ill. Cent. R.R., 385

F.3d 568, 573 (5th Cir. 2004).

       27.       The Fifth Circuit recently held that federal courts should use the federal court

pleading standard when conducting the Rule 12(b)(6)-type analysis of an improper joinder to

determine if the plaintiff has stated a claim against a nondiverse defendant. Int’l Energy Ventures

Mgmt., L.L.C. v. United Energy Grp., Ltd., 818 F.3d 193, 208 (5th Cir. 2016). Federal Rule of

Civil Procedure 8(a)(2) requires that a complaint contain “a short and plain statement of the

claim showing that the pleader is entitled to relief in order to give the defendant fair notice of

what the claim is and the grounds upon which it rests.” Bell Atl. Corp. v. Twombly, 550 U.S. 544,




NOTICE OF REMOVAL AND DEMAND FOR JURY TRIAL                                                    PAGE 5
     Case 3:17-cv-02188-D Document 1 Filed 08/17/17                   Page 6 of 12 PageID 6


555 (2007) (internal quotation marks and ellipsis omitted). Although a complaint need not

contain detailed factual allegations, the “showing” contemplated by Rule 8 requires the plaintiff

to do more than simply allege legal conclusions or recite the elements of a cause of action.

Twombly, 550 U.S. at 555, and n.3. Thus, while a court must accept all of the factual allegations

in the complaint as true, it need not credit bare legal conclusions that are unsupported by any

factual underpinnings. See Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009) (“While legal conclusions

can provide the framework of a complaint, they must be supported by factual allegations.”).

       28.     Moreover, to survive a motion to dismiss for failure to state a claim under Rule

12(b)(6), the facts pleaded must allow the court to infer that the plaintiff’s right to relief is

plausible. Id. at 678. To allege a plausible right to relief, the facts pleaded must suggest liability;

allegations that are merely consistent with unlawful conduct are insufficient. Id. In other words,

where the facts pleaded do no more than permit the court to infer the possibility of misconduct,

the complaint has not shown that the pleader is entitled to relief. Id. at 679. “Determining

whether a complaint states a plausible claim for relief ... [is] a context-specific task that requires

the reviewing court to draw on its judicial experience and common sense.” Id.

       29.     In order to assert an actionable cause of action against an adjuster, Texas federal

courts require the plaintiff “to allege specific actionable conduct by the adjuster and to

distinguish claims against the adjuster from generic, conclusory, statute-tracking claims against

the insurer.” See, e.g., Okenkpu v. Allstate Tex. Lloyd’s, No. H–11–2376, 2012 WL 1038678

(S.D. Tex. Mar. 27, 2012); Centro Cristiano Cosecha Final, Inc. v. Ohio Cas. Ins. Co., No. H–

10–1846, 2011 WL 240335, *14 (S.D. Tex. Jan. 20, 2011); Gonzales v. Homeland Ins. Co. of

N.Y., No. H–11–123, 2011 WL 3104104 (S.D. Tex. July 25, 2011); Glen Willow Apartments v.

Lexington Ins. Co., No. H–10–2095, 2011 WL 1044206, *3 (Mar. 16, 2011); Emmanuel




NOTICE OF REMOVAL AND DEMAND FOR JURY TRIAL                                                      PAGE 6
     Case 3:17-cv-02188-D Document 1 Filed 08/17/17                  Page 7 of 12 PageID 7


Deliverance Temple of Refuge, Inc. v. Scottsdale Ins. Co., No. H–10–4162, 2011 WL 2837588

(S.D. Tex. July 18, 2011); Jiminez v. Travelers Indem. Co., No. H–09–1308, 2010 WL 1257802,

*6 (S.D. Tex. Mar. 25, 2010).

       30.        Plaintiff alleges a declaratory judgement action against Defendants GEICO and

Childs stating:

       Plaintiff now asks the Court, pursuant to the Texas Declaratory Judgments Act
       §37.001 et. seq., for a declaration that her injuries and damages fall within the
       coverage of the Insurance Policy issued by Defendant Geico Advantage Insurance
       Company and for a declaration of their rights to such benefits and judgment
       against Defendants Geico Advantage Insurance Company and Harrell Childs.

       31.        Plaintiff’s pleading contains no factual allegations regarding Defendant Childs.

       32.        Texas law does not contemplate that adjusters like Childs will be held

individually liable for the insurance carrier’s decision on a claim. See Ardila v. State Farm

Lloyds, No. H-01-0454, 2001 WL 34109378 (S.D. Tex. 2001) (citing Coffman v. Scott Wetzel

Servs., Inc., 908 S.W.2d 516 (Tex. App.—Fort Worth 1995, no writ) (adjusters do not have

liability under the DTPA for lack of good faith in processing insurance claims). As Judge

Melinda Harmon noted, claims against an individual adjuster for “insufficient investigation and

undervaluing the claim, incorporated into a report to [the carrier], is insufficient to establish the

possibility of a claim against her individually for violation of the Texas Insurance Code §

541.060(a), the DTPA, Business & Commerce Code §§ 17.41 et seq., and common law fraud.”

See Centro Cristiano Cosecha Final Inc., 2011 WL 240335 at *14. In addition, the Fifth Circuit

has held

       there is no reasonable possibility that Texas would allow recovery under [former]
       Article 21.21 (or the Texas Deceptive Trade Practices Act (DTPA)) against an
       insurance company employee, who in the course of his employment engages in
       the business of insurance, in the absence of evidence sufficient to sustain a finding
       that that employee herself committed a violation of Article 21.21 (or the DTPA)




NOTICE OF REMOVAL AND DEMAND FOR JURY TRIAL                                                    PAGE 7
     Case 3:17-cv-02188-D Document 1 Filed 08/17/17                 Page 8 of 12 PageID 8


       and that such violation was a cause of damage or legally recognized harm to the
       plaintiff.

Hornbuckle v. State Farm Lloyds, 385 F.3d 538, 545 (5th Cir. 2004); see also Mainali Corp. v.

Covington Specialty Ins. Co., No. 3:15–CV–1087–D, 2015 WL 5098047 (N.D. Tex. Aug. 31,

2015); One Way Invs v. Century Sur. Co., No. 3:14–CV–2839–D, 2014 WL 6991277 (N.D. Tex.

Dec. 11, 2014); Messersmith v. Nationwide Mut. Fire Ins. Co., 10 F. Supp. 3d 721, 724 (N.D.

Tex. 2014); Lakewood Chiropractic Clinic v. Travelers Lloyds Ins. Co., 2009 WL 3602043, *4

(S.D. Tex. 2009) holding, (conclusory allegations regarding “some involvement” by adjuster

assigned to investigate claim after initial denial was not sufficient to support claims of fraud and

Insurance Code violations); Ford v. Prop. & Cas. Ins. Co. of Hartford, No. H–09–1731, 2009

WL 4825222 (S.D. Tex. 2009) (pleading that individual defendant was one of the adjusters

assigned to Plaintiffs’ claim was not sufficient to satisfy obligation under Texas law to allege

that the adjusters, as individuals, committed the violation that caused the harm).

       33.     Plaintiff’s claim against Childs is in violation of the federal pleading requirements

established by Twombly and Iqbal. Plaintiff’s allegations (or more appropriately, complete lack

thereof) against Childs do not rise to the level of even bare legal conclusions or a formulaic

recitation of the elements of a cause of action, they are simply non-existent. As such, Plaintiff’s

petition against Childs exemplifies the pattern and practice of improper joinder established by

Plaintiff’s counsel, Eberstein & Witherite.

C.     PATTERN AND PRACTICE OF IMPROPER JOINDER

       34.     Plaintiff’s counsel has a long history of improperly joining GEICO insurance

adjusters as party-defendants in first-party suits against GEICO to recover policy benefits in an

effort to avoid removal of the case from state court to federal court. This is yet another example

of one such case.


NOTICE OF REMOVAL AND DEMAND FOR JURY TRIAL                                                   PAGE 8
      Case 3:17-cv-02188-D Document 1 Filed 08/17/17                            Page 9 of 12 PageID 9


         35.      Eberstein & Witherite has established a practice of intentionally adding adjusters

to lawsuits to defeat diversity. Prior to this case being filed, Eberstein & Witherite had an

impermissible pattern and practice of refusing to nonsuit an adjuster (despite pleading no factual

allegations against them) unless defense counsel for the insurance company agreed not to remove

the case to Federal Court. See Exhibit F. In the Dallas/Tarrant County area between 2015 and

2017 alone, Eberstein & Witherite has filed essentially the same form petition in 23 lawsuits

involving GEICO wherein the adjuster was named but no factual allegations were included. 3 See

Exhibit G. Each of these 23 lawsuits involved a claim for uninsured/underinsured motorist

benefits and not a single lawsuit contained even an allegation of violations of the Texas

Insurance Code. See Exhibits G-1 through G-23. Moreover, in each case, the adjuster was

dismissed without litigating any claims against them. See Appendix to Defendants’ Notice of

Removal for a listing of each lawsuit (App_0027).

         36.      The same form petition used in the previous cases (see Exhibits G-1 through G-

23) was used in this case to sue Childs, the GEICO adjuster who made Plaintiff Braswell a pre-

suit offer to settle her claim for uninsured motorist benefits.

         37.      The essence of this lawsuit is the Plaintiff’s right of recovery under the insurance

contract for uninsured motorist coverage. Childs has been improperly joined for the sole purpose

of defeating diversity jurisdiction in this court and his citizenship, therefore should be

disregarded and he should be dismissed as a matter of law.

         38.      Complete diversity of citizenship exists between Plaintiff and Defendant.

Furthermore, because Childs was improperly joined in this action, his consent to removal is not




3
 Five out of the 23 petitions listed a single factual allegation against the adjuster, however only declaratory relief
was sought. See Appendix - Exhibit G for detailed information.


NOTICE OF REMOVAL AND DEMAND FOR JURY TRIAL                                                                    PAGE 9
     Case 3:17-cv-02188-D Document 1 Filed 08/17/17                 Page 10 of 12 PageID 10


required in this case, however Childs consents to this removal. See Jernigan v. Ashland Oil Inc.,

989 F.2d 812, 815 (5th Cir.1993).

D.      THE AMOUNT IN CONTROVERSY EXCEEDS $75,000.

        39.     Additionally, the claims asserted by Plaintiff exceed $75,000.00.           Plaintiff’s

Original Petition specifically states that Plaintiffs seek “monetary relief over $100,000 . . . .” See

Exhibit 1-A.

                                                  IV.
                                                VENUE

        40.     Venue for removal is proper in this district and division under 28 U.S.C. §

1441(a) because this district and division embrace the place in which the removed action was

pending, the District Court of Dallas County, Texas, and a substantial part of the events giving

rise to Plaintiff’s claims allegedly occurred in that district.

                                          V.
                               PROCEDURAL REQUIREMENTS

        41.     Pursuant to 28 U.S.C. § 1446(a) and Local Rule 81.1 of the U.S. District Court for

the Northern District of Texas, the following exhibits are attached and indexed:

                Exhibit 1:      Index of Documents Filed in the State Court Action

                Exhibit 2:      Civil Cover Sheet

                Exhibit 3:      Supplemental Civil Cover Sheet

                Exhibit 4:      Certificate of Interested Parties

        42.     This Notice of Removal is being filed within thirty (30) days of service of the

citation and the Plaintiff’s Original Petition, and is thus timely filed under 28 U.S.C. §1446(b).

There exists an actual and justiciable controversy between Plaintiffs and Defendants with regard

to the legal issues herein and this controversy is within the jurisdiction of this Court.




NOTICE OF REMOVAL AND DEMAND FOR JURY TRIAL                                                    PAGE 10
   Case 3:17-cv-02188-D Document 1 Filed 08/17/17                 Page 11 of 12 PageID 11


       43.     Pursuant to 28 U.S.C. § 1446(a), all pleadings, process, orders and all other filings

in the state court action are attached to this Notice.

       44.     Pursuant to 28 U.S.C. § 1446(d), written notice of filing of this Notice of

Removal will be given to all adverse parties promptly after the filing of same.

       45.     Pursuant to 28 U.S.C. § 1446(d), a true and correct copy of the Notice of Removal

will be filed with the District Clerk for the 14th Judicial District Court of Dallas County, Texas

promptly after filing of same.

       46.     Plaintiff has made a jury demand.

                                              VI.
                                          CONCLUSION

       WHEREFORE, PREMISES CONSIDERED, Defendants pursuant to these statutes and

in conformance with the requirements set forth in 28 U.S.C. § 1446, removes Cause Number

DC-17-07970, styled Barbara Braswell v. GEICO Advantage Insurance Company and Harrell

Childs, currently pending in the 14th District Court, Dallas County, Texas to the U.S. District

Court for the Northern District of Texas, Dallas Division pursuant to 28 U.S.C. §§1332, 1441

and 1446 to this Court on the 17th day of August 2017 for trial and determination.




NOTICE OF REMOVAL AND DEMAND FOR JURY TRIAL                                                  PAGE 11
    Case 3:17-cv-02188-D Document 1 Filed 08/17/17                  Page 12 of 12 PageID 12


                                                 Respectfully submitted,

                                                 PERRY LAW P.C.

                                              By:/s/ Meloney Perry
                                                 Meloney Perry
                                                 State Bar No. 00790424
                                                 Stacy Thompson
                                                 State Bar No. 24046971
                                                 Shannon Spizman
                                                 State Bar No. 24086729

                                                 10440 North Central Expressway, Suite 600
                                                 Dallas, Texas 75231
                                                 (214) 265-6201 (Telephone)
                                                 (214) 265-6226 (Facsimile)
                                                 mperry@mperrylaw.com
                                                 sthompson@mperrylaw.com
                                                 sspizman@mperrylaw.com

                                                 ATTORNEYS FOR DEFENDANT
                                                 GEICO ADVANTAGE INSURANCE
                                                 COMPANY and HARRELL CHILDS

                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing instrument was served on the
following counsel of record on this the 17th day of August 2017 in accordance with the FEDERAL
RULES OF CIVIL PROCEDURE:

        Via Electronic Service
        Brandon A. Lavery
        Amy K. Witherite
        EBERSTEIN & WITHERITE, LLP
        10440 N. Central Expressway, Suite 400
        Dallas, Texas 75231
        brandon.lavery@ewlawyers.com
        amy.witherite@ewlawyers.com
        Attorneys for Plaintiff


                                                        /s/ Meloney Perry
                                                        Meloney Perry

00058182.DOCX




NOTICE OF REMOVAL AND DEMAND FOR JURY TRIAL                                                  PAGE 12
